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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                      Plaintiff,

                                                           Case No. 05-CV-80369
vs.                                                        HON. GEORGE CARAM STEEH

PHILLIP WALLS D-4,
AMANDA CHAMBERS D-9,
MICHELLE WALLS D-5,
RICCARDO TOLLIVER D-3,
and LINDA MASON D-7,

                Defendants.
_____________________________/

        ORDER GRANTING IN PART DEFENDANT PHILLIP WALLS' MOTION
       FOR DISCLOSURE OF RULE 404(b) AND RULE 609 EVIDENCE (# 115)
      AND GRANTING IN PART DEFENDANTS CHAMBERS', MICHELLE WALLS',
                     TOLLIVER'S AND MASON'S JOINDERS
                 IN THE MOTION (#116, #117, #118, #119, #122)

       Defendant Phillip Walls moves for pretrial disclosure of Rule 404(b) prior bad act

evidence and Rule 609 impeachment evidence by prior criminal conviction relative to

himself and alleged co-conspirators. The government has not filed a timely response.

"[U]pon request by the accused, the prosecution in a criminal case shall provide reasonable

notice in advance of trial, or during trial if the court excuses pretrial notice on good cause

shown, of the general nature of any [crimes, wrongs, or prior acts] evidence it intends to

introduce at trial." Fed. R. Evid. 404(b). Trial in this matter is currently scheduled for March

20, 2007. Defendant Phillip Wall's motion for disclosure of Rule 404(b) and Rule 609

evidence is hereby GRANTED, IN PART, to the extent the government is hereby

ORDERED to provide reasonable notice to Phillip Walls in advance of trial of the general

nature of any crimes, wrongs, or prior acts of Phillip Walls it intends to introduce against

him at trial, such notice to be furnished within 14 days of the date of this Order. The

remainder of Phillip Walls' motion is hereby DENIED as it pertains to pretrial disclosure to
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him of Rule 404(b) and Rule 609 evidence relative to another defendant or alleged co-

conspirator. See Order Denying Wells' Motion for Pretrial Disclosure of Impeaching

Information. Defendants Chambers', Michelle Walls', Tolliver's, and Mason's separate

joinders in the motion are here GRANTED, IN PART, to the extent the government is

hereby ORDERED to provide each of these defendants with reasonable notice in advance

of trial of the general nature of any of their own crimes, wrongs, or prior acts the

government intends to introduce against then at trial. Such notice is to be furnished within

14 days of the date of this Order. The defendants' separate joinders are hereby DENIED

to the extent a defendant seeks pretrial disclosure of Rule 404(b) and Rule 609 evidence

relative to another defendant or alleged co-conspirator.

       SO ORDERED.

Dated: February 13, 2007

                                            s/George Caram Steeh
                                            GEORGE CARAM STEEH
                                            UNITED STATES DISTRICT JUDGE

                                  CERTIFICATE OF SERVICE

                   Copies of this Order were served upon attorneys of record on
                      February 13, 2007, by electronic and/or ordinary mail.

                                      s/Josephine Chaffee
                                          Deputy Clerk




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